Case 2:13-cr-20156-GCS-DRG ECF No. 359, PageID.2751 Filed 05/06/16 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                              Criminal No. 13-20156
                     Plaintiff,               HON. George Caram Steeh
v      .

D-20 CARMELO SANTIAGO-CABAN,

               Defendant.
_________________________________/


                   PRELIMINARY ORDER OF FORFEITURE

      1.       A Fourth Superseding Information (Information) was filed on January

12, 2016, charging Defendant CARMELO SANTIAGO-CABAN in Count One

with Conspiracy to Possess with Intent to Distribute and Distribution of Cocaine in

violation of 21 U.S.C. §§ 841(a)(1); 841(b)(1)(C); and 846.

      2.       Defendant CARMELO SANTIAGO-CABAN entered into a Rule 11

Plea Agreement (Rule 11) in which he agreed to plead guilty to Count One of the

Information.

      3.       As part of this agreement, Defendant CARMELO SANTIAGO-

CABAN agreed, pursuant to 21 U.S.C. § 853, to forfeit his interest to the United

States in the following:

                                          1
Case 2:13-cr-20156-GCS-DRG ECF No. 359, PageID.2752 Filed 05/06/16 Page 2 of 5




      (a) any property, real or personal, constituting or derived from any proceeds

obtained, directly or indirectly, as a result of violations of Title 21, United States

Code, Sections 841 and 846, as alleged in Count One of the Fourth Superseding

Information;

      (b) any property, real or personal, involved in the commission of violations

of Title 21, United States Code, Sections 841 and 846, as alleged in Count One of

the Fourth Superseding Information; and/or

      (c) a money judgment, and all traceable interest and proceeds which sum in

aggregate is property representing the proceeds of the aforementioned offenses, or

is traceable to such property, and/or is involved in violations of Title 21, United

States Code, Sections 841 and 846, as alleged in Count One of the Indictment

(collectively, “Subject Property”).

      4.       As part of this agreement, Defendant CARMELO SANTIAGO-

CABAN further agreed to a Forfeiture Money Judgment in the amount of One

Hundred and Fifty Thousand Dollars ($150,000).

      5.       Defendant CARMELO SANTIAGO-CABAN agreed to the entry of a

Stipulated Preliminary Order of Forfeiture, at or after the time his guilty plea is

entered, with regard to the forfeiture money judgment in the amount of $150,000,

and as to any other property identified before sentencing that is subject to forfeiture

                                           2
Case 2:13-cr-20156-GCS-DRG ECF No. 359, PageID.2753 Filed 05/06/16 Page 3 of 5




pursuant to 21 U.S.C. § 853, as a result of violations of Title 21, United States

Code, Sections 841 and 846, as alleged in Count One of the Fourth Superseding

Information.

      6.       Defendant CARMELO SANTIAGO-CABAN agreed that, pursuant to

21 U.S.C. § 853(p), if, by any act or omission of Defendant, the property subject to

forfeiture cannot be located upon the exercise of due diligence; has been

transferred, sold, or deposited with a third party; has been placed beyond the

jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty, the

Defendant agrees to the forfeiture of any of his other real or personal property, up

to the value of such unavailable assets.

      7.       In entering into his agreement with respect to forfeiture, Defendant

CARMELO SANTIAGO-CABAN expressly waived his right to have a jury

determine the forfeitability of his interest in the Subject Property as provided by

Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure.

      8.       In entering into his agreement with respect to forfeiture, Defendant

CARMELO SANTIAGO-CABAN knowingly, voluntarily, and intelligently

waived any challenge to the above-described forfeiture based upon the Excessive

Fines Clause of the Eighth Amendment to the United States Constitution.

                                           3
Case 2:13-cr-20156-GCS-DRG ECF No. 359, PageID.2754 Filed 05/06/16 Page 4 of 5




      9.       Defendant further waived the requirements of Federal Rules of

Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

charging instrument, announcement of the forfeiture at sentencing, and

incorporation of the forfeiture in the judgment. Defendant acknowledged that he

understands that the forfeiture of assets is part of the sentence that may be imposed

in this case and waived any failure by the court to advise him of this, pursuant to

Rule 11(b)(1)(J), at the time his guilty plea is accepted.

      10.      Federal Rules of Criminal Procedure 32.2(b)(2)(A) and (B) provide

that the court must enter a preliminary order of forfeiture directing the forfeiture of

specific property that it finds is subject to forfeiture sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications, before the

order becomes final as to the defendant under Rule 32.2(b)(4), unless doing so is

impractical.

      11.      The court finds that defendant property has a sufficient nexus to the

offense of conviction and is therefore subject to forfeiture to the United States.

      12.      Defendant CARMELO SANTIAGO-CABAN is scheduled to be

sentenced on May 12, 2016.

      NOW THEREFORE, based upon Defendant CARMELO SANTIAGO-

CABAN’s acknowledgment of criminal forfeiture proceedings against defendant

                                            4
Case 2:13-cr-20156-GCS-DRG ECF No. 359, PageID.2755 Filed 05/06/16 Page 5 of 5




property, Defendant’s Rule 11 Plea Agreement and guilty plea, and the information

in the record,

      IT IS HEREBY ORDERED that a money judgment in the amount of

$150,000 is hereby entered against Defendant CARMELO SANTIAGO-CABAN

in favor of the United States of America;

      IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2(c)(1) and

(c)(2) this Preliminary Order of Forfeiture shall become final as to the Defendant

and all other persons upon entry and shall be made part of the sentence and

included in the judgment, given that the forfeiture consists entirely of a money

judgment and ancillary proceedings are not required.

      The Court shall retain jurisdiction to enforce this Preliminary Order of

Forfeiture, and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).



*********************************

IT IS SO ORDERED.

                                                s/George Caram Steeh
Dated: May 6, 2016                              HON. GEORGE CARAM STEEH
                                                United States District Judge




                                            5
